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IN THE UNITED STATES DISTRICT bits es
FOR THE NORTHERN DISTRICT OF TEXAS
_ DALLAS DIVISION

— + COURT
\ CLER® ©"
UNITED STATES OF AMERICA \ By Deputy

 

 

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Vv. § No.
KIMBERLY LAYNE JOHNSON § 3-O07CRQO012-8
INDICTMENT
The Grand Jury Charges:
Count One

Receipt of Child Pornography
(Violation of 18 U.S.C. § 2252(a)(2))

Between January 25, 2006 and February 2, 2006, in the Dallas Division of the
Northern District of Texas and elsewhere, the defendant, Kimberly Layne Johnson,
knowingly received a visual depiction of a minor engaged in sexually explicit conduct,
the production of which involved the use of a minor engaged in sexually explicit conduct,
that had been mailed, shipped and transported in interstate and foreign commerce by any
means, including by computer, to wit: Johnson used the internet to download movie files
and still images of minors engaged in sexually explicit conduct.

Included in the images received by Johnson were the following five described
computer files, which depict minors engaged in sexually explicit conduct and which

depict the lascivious exhibition of the genitals and pubic area of said minors, as defined in

18 U.S.C. § 2256:

Indictment-Page 1

 
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Date | File name Description of image

 

01/27/2006 | 0477.JPG Image depicting genital-genital sexual
. intercourse between a minor female
wearing a blue shirt and an adult male

 

01/27/2006 | 0478.JPG Image depicting a minor female wearing
a blue shirt performing oral-sexual
intercourse on an adult male

 

01/27/06 0578 jpg Still image depicting oral-genital sexual
intercourse between an adult male and a
clothed minor female wearing a green
barrette in her hair

 

01/25/06 140.mpeg Movie file depicting masturbation of the
genitals of a nude minor female

 

01/25/06 096.MPEG Movie file depicting the lewd and
lascivious exhibition of the genitals of a
minor female

 

 

 

 

 

In violation of 18 U.S.C. § 2252(a)(2).

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Count Two
Possession of Child Pornography
(Violation of 18 U.S.C. § 2252(a)(4)(B))

On or about July 27, 2006, in the Dallas Division of the Northern District of Texas
and elsewhere, the defendant, Kimberly Layne Johnson, knowingly possessed material,
specifically, a CD-Rom, that contained more than five visual depictions of minors
engaged in sexually explicit conduct that had been mailed, shipped, and transported in
interstate and foreign commerce, including by computer and which were produced using
materials that had been mailed, transported, and shipped in interstate and foreign
commerce.

Included in the images possessed by Johnson were the following five described
computer files, which depict minors engaged in sexually explicit conduct and which

depict the lascivious exhibition of the genitals and pubic area of said minors, as defined in

18 U.S.C. § 2256:

 

File name Description of the image

000-004-1JPG.JPG | Still image depicting the lewd, lascivious exhibition of
the genitals of a nude prepubescent female

 

 

000-013JPG.JPG Still image depicting the lewd, lascivious exhibition of
the genitals of a nude minor female

 

000-025-1JPG.JPG | Still image depicting the lewd, lascivious exhibition of
the genitals of a nude minor female

 

000-040JPG.JPG Still image depicting the lewd, lascivious exhibition of
the genitals of a nude prepubescent female wearing a
gold chain around her waist

 

000-055-1JPG.JPG | Still image depicting the lewd, lascivious exhibition of
the genitals of a nude prepubescent female

 

 

 

 

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In violation of 18 U.S.C. § 2252(a)(4)(B).

A TRUE BILL

 

RICHARD B. ROPER
UNITED STATES ATTORNEY

Gta Sa tec
-AISHA SALEEM
Assistant United States Attorney
Texas State Bar No. 00786218
1100 Commerce Street, Third Floor
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Telephone: 214.659.8600
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FOR THE NORTHERN DISTRICT
DALLAS DIVISIOR

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UNITED STATES OF AMERICA

¥ 3-07C0R0012°9

KIMBERLY LAYNE JOHNSON (1)

 

INDICTMENT

18 U.S.C. § 2252(a)(2)
Receipt of Child Pornography

18 U.S.C. § 2252(a)(4)(B)
Possession of Child Pornography

 

 

 

2 Counts
A true bill rendered:
DALLAS ( O FOREPERSON>
Filed in open court this day of , A.D. 2007.

 

 

 

Clerk

  
  
 
  
 

 

 

HK

DNIN \ S AGISTRATE JUDGE

Q
aD
No Map\strate Complaint Pending
Magisttat? Case No. 3:06-302-MJ

 

  
 
     

 

 
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‘ UNITED STATES DISTRICT COURT) 2. Related Case Information
NORTHERN DISTRICT OF TEXAS Superseding Indictment: "_l¥es [KI No New Defendant: Lx Yes L| No
1. Defendant Information Pending CR Case in NDTX: | lyes No If Yes, number:

. Search Warrant Case Number 3:06-302-MJ
Juvenile: LJ Yes x! No

If Yes, Matter to be sealed:
i 3:06-302-MJ
[| Yes Lx] No Magistrate Case Number.

R 20 from District of __ N/A

 

 

 

Defendant Name KIMBERLY LAYNE JOHNSON (1)
Alias Name

Address

 

 

ey

 

 

 

County in which offense was committed:_Dallas
2. US. Attorney Information
AUSA Aisha Saleem Bar #TX Bar No. 00786218

3. Interpreter

|_lyes [x] No If Yes, list language and/or dialect:

 

4. Location Status
ISSUE ARREST WARRANT

| Already in Federal Custody as of. in

| Already in State Custody
On Pretrial Release

5. U.S.C. Citations

Total # of Counts as to This Defendant: 2 [Petty |_| Misdemeanor Felony

Citation Description of Offense Charged Count(s)
18 U.S.C. § 2252(a)(2) Receipt of Child Pornography 1

18 U.S.C. § 2252(a)(4)(B) Possession of Child Pornography 2

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Date © | (< (G7 Signature of AUSA: ( ef aS A

 

 
